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 8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9                             SOUTHERN DIVISION

10                                      §
     ENTROPIC COMMUNICATIONS, LLC, §
11              Plaintiff,              §
                                        §        Case No. 2:23-cv-01043-JWH-KES
12           v.                         §          LEAD CASE
                                        §        Case No. 2:23-cv-01049-JWH-KES
13   DISH NETWORK CORPORATION,          §          LEAD CASE
     et al.,                            §
14              Defendants.             §
     __________________________________ §        Hon. John W. Holcomb
15                                      §        Special Master David M. Keyzer
     ENTROPIC COMMUNICATIONS, LLC, §
16              Plaintiff,              §
                                        §        NOTICE OF REDACTED
17           v.                         §        SPECIAL MASTER REPORT AND
                                        §        RECOMMENDATION ON
18   COX COMMUNICATIONS, INC., et al., §         MOTIONS REFERRED BY THE
                Defendants.             §        COURT ON FEBRUARY 9, 2024,
19                                      §        AND MARCH 26, 2024

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              NOTICE OF REDACTED SPECIAL MASTER REPORT AND RECOMMENDATION - 1
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 1         Pursuant to the Court’s July 5, 2023 Order Appointing David Keyzer, Esq. as

 2   Special Master for Discovery Purposes (Civil Action No. 2:23-cv-1043 (“-1043”), Dkt.

 3   74; Civil Action No. 2:23-cv-1049 (“-1049”), Dkt. 62), the Court’s February 9, 2024

 4   Order Referring Matters to Special Master (-1043, Dkt. 343; -1049, Dkt. 240), and the

 5   Court’s March 26, 2024 Order Referring Matters to Special Master (-1043, Dkt. 431), the

 6   Special Master attaches hereto the parties’ jointly proposed redacted version of the

 7   Special Master Report and Recommendation on Motions Referred by the Court on

 8   February 9, 2024, and March 26, 2024, which the Court filed under seal on April 22,

 9   2024 (-1043, Dkt. 446; -1049, Dkt. 302).

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12   Dated:    May 15, 2024                       By:       /s/ David Keyzer
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17                                                Special Master

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                 NOTICE OF REDACTED SPECIAL MASTER REPORT AND RECOMMENDATION - 2
